       Case 2:15-cv-00222-KOB-JHE Document 130 Filed 04/29/16 Page 1 of 6                    FILED
                                                                                    2016 Apr-29 PM 03:33
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

IN RE: COMMUNITY HEALTH                   )
SYSTEMS, INC., CUSTOMER                   )     MASTER FILE NO.
SECURITY DATA BREACH                      )     15-CV-222-KOB
LITIGATION                                )
(MDL 2595)                                ) THIS DOCUMENT RELATES TO ALL CASES
                                          )

    PLAINTIFFS’ SUPPLEMENT TO THE CONSOLIDATED AMENDED
                   CLASS ACTION COMPLAINT

           Pursuant to the Court’s Partial Order on Motion to Dismiss (ECF No. 125),

Plaintiffs hereby submit the following amendment to their previously filed

Consolidated Amended Class Action Complaint (“CACAC”) (ECF No. 53), and

note that the following numbered paragraphs supersede and replace the similarly

numbered paragraphs in the CACAC:

           14.   Plaintiff Kathy Ellzey (“Plaintiff Ellzey”), a resident of Hokes Bluff,

Alabama, was treated at Gadsden Regional Hospital, a CHS facility, in April and

August 2014.        As part of the patient-admission process, Plaintiff Ellzey was

required to provide CHS with her confidential patient data, which CHS promised

would be protected in accordance with industry standards and as mandated by law.

Plaintiff Ellzey’s confidential patient data was misappropriated and exposed to

identity thieves in and as a result of the CHS data breach and she suffered

cognizable injury thereby.        Since the data breach at CHS, Plaintiff Ellzey has

494882.1
       Case 2:15-cv-00222-KOB-JHE Document 130 Filed 04/29/16 Page 2 of 6



experienced unauthorized charges placed on her credit card, and has spent

approximately 30 hours addressing the theft of her identity and has expended her

own funds to cover postage expenses related to the data breach. Also, shortly after

the initial hack of CHS’s network in April 2014, Plaintiff Ellzey’s email was

hacked.          The confidential patient data stolen from CHS, including her name,

address, social security number, email address, and passwords, were the types of

information needed by the cyber-thieves to hack Plaintiff Ellzey’s email account.

Plaintiff Ellzey did not store her confidential patient data on her computer or other

media devices, and stored it in a safe and secure place, and, prior to the CHS data

breach, Plaintiff Ellzey had never been a victim of a data breach or identity theft

that would have allowed her email to be hacked. Plaintiff Ellzey has spent at least

$5.00 on postage fees in connection with ramifications of the data breach. Plaintiff

Ellzey faces an ongoing, imminent, certainly impending threat of future additional

harm from the theft of her confidential patient data, like all members of the

proposed class.

           44.      Plaintiff William Lutz (“William Lutz”), a resident of Lafayette Hill,

Pennsylvania, was treated at Northwest Internal Medicine, which is connected with

Chestnut Hill Hospital, a CHS facility, two times per year from 2010 to the

present, including a visit on February 2, 2014, two months prior to the CHS data

breach.          As part of the patient-admission process, Plaintiff Lutz was required to

494882.1                                       2
       Case 2:15-cv-00222-KOB-JHE Document 130 Filed 04/29/16 Page 3 of 6



provide CHS with his confidential patient data, which CHS promised would be

protected in accordance with industry standards and as mandated by law. Plaintiff

Lutz’ confidential patient data was misappropriated and exposed to identity thieves

in and as a result of the CHS data breach and he suffered cognizable injury

thereby. Starting in October, 2014 and continuing through the present, third parties

have hacked into Plaintiff Lutz’ email, changed his passwords repeatedly, and used

Plaintiff's email account to identify his financial assets and credit accounts and

have further used it to communicate with financial institutions and others to set up

new accounts in Plaintiff Lutz’ name. Plaintiff Lutz has experienced unauthorized

charges on his credit cards, withdraws from a hotel points account, and third

parties have attempted to open at least two different foreign exchange accounts in

Plaintiff Lutz’ name. To address these activities, Plaintiff Lutz has spent a

significant amount of time calling and corresponding with his email provider,

credit card issuers, banks, financial institutions involved in foreign currency

exchange, local police, the office of Social Security, Pay Pal, the Internal Revenue

Service, credit reporting agencies, and Chex Systems. Plaintiff Lutz has also been

in touch with elected officials, trying to regain control of his identity. In some

instances, Plaintiff Lutz has expended his own funds to address these thefts.

Plaintiff Lutz faces an ongoing, imminent, certainly impending threat of future

additional harm from the theft of his confidential patient data, like all members of

494882.1                                 3
       Case 2:15-cv-00222-KOB-JHE Document 130 Filed 04/29/16 Page 4 of 6



the proposed class.

           Plaintiffs reserve the right to seek leave to further amend the CACAC (ECF

No. 53) pursuant to Fed. R. Civ. P. 15.

Dated: April 29, 2016                         By: s/ Karen Hanson Riebel
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494882.1                                    4
       Case 2:15-cv-00222-KOB-JHE Document 130 Filed 04/29/16 Page 5 of 6



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494882.1                               5
       Case 2:15-cv-00222-KOB-JHE Document 130 Filed 04/29/16 Page 6 of 6



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494882.1                               6
